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                                                  May 25, 2022

VIA ECF

Hon. Paul A. Engelmayer, U.S.D.J.
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

                       RE:     Gill v. National Football League, et al.
                               Civil Action No. 21-cv-01032 (PAE)


Dear Judge Engelmayer:

        Defendants National Football League and NFL Enterprises LLC respectfully submit this
letter-motion requesting an extension of time to comply with Your Honor’s Order dated May 23,
2022 (Doc. No. 80).

         On May 23, 2022, the Court directed the Defendants to file the documents at docket number
70 which are currently under seal with limited redactions. (Doc. No. 80). The Defendants will be
filing further redacted versions of the contracts filed under Doc. Nos. 70-2 and 70-3 in compliance
with the May 23 Order. The Defendants, however, seek an extension to unseal the contract filed
as Doc. No. 70-1 which is a contract between Perform Media Channels Ltd. (“Perform”) and NFL
International LLC.

       The contract between Perform and NFL International LLC contains the following
confidentiality provision:

                Neither Party shall disclose to any third party any information with respect to the
                financial or other terms of this Agreement, any matters relating to the course of
                dealings between the Parties, or any other proprietary information of the other
                Party (“Confidential Information”) except (a) to the extent necessary to comply
                with any law (including the making of any required filings or recordings), any
                legal proceedings, or the valid order of a court of competent jurisdiction provided
                that the Party making such disclosures shall promptly notify the other Party of the
                disclosure obligation in writing and seek confidential treatment of such
                information; (b) as part of its reporting or review procedures to its affiliated
                entities (which includes NFLI’s ability to disclose any such information to the
                Member Clubs and their owners); or (c) in order to enforce the rights granted to a

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                Party hereunder or to perform its obligations hereunder.

(See page 39 of Doc. No. 70-1).


During the course of discovery, the Defendants provided written notification to Perform that the
contract will be disclosed subject to a Protective Order (Doc. No. 57) with a “confidential”
designation. As the Perform contract has now been ordered to be filed unsealed and on the public
docket, the Defendants respectfully request a short extension of time to notify Perform of the
disclosure requirement in accordance with the Defendants’ confidentiality obligations.

       Accordingly, the Defendants respectfully request that the time to unseal Doc. No. 70-1 be
extended to June 3, 2022. As Plaintiff is already in possession of this contract, there would be no
delay or prejudice to the briefing schedule or submission of the pending summary judgment
motion.

                We thank the Court for its attention to this matter.

                                               Respectfully Submitted,
                                            LONDON FISCHER LLP

                                              Jason M. Myers
                                                  Jason M. Myers




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